          Case 3:23-cr-00112-CRS                    Document 5            Filed 10/05/23        Page 1 of 1 PageID #: 13

AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                           Oct 05, 2023

                                                                  for the
                                                :HVWHUQ'LVWULFWRI.HQWXFN\
                                                     __________ District of __________

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.
                                                                      )                  3:23-mj-656
                    Jairo Jaime Tinajero                              )
                                                                      )
                                                                      )
                          Defendant(s)
                                                        AMENDED
                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of EHJLQQLQJLQ$SULOWKURXJK6HSWHPEHU    in the county of              Jefferson           in the
     Western           District of             Kentucky          , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. 875                                     Interstate Threats
18 U.S.C. 2251                                    Production of Child Pornography
18 U.S.C. 2422                                    Online Enticement
18 U.S.C. 2261A                                   Stalking




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                   /s/ Brandi Fowler
                                                                                                 Complainant’s signature

                                                                                         Brandi Fowler, FBI Special Agent
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:             10/05/2023
                                                                                                    Judge’s signature

City and state:                         Louisville, Kentucky                          Regina S. Edwards, Magistrate Judge
                                                                                                  Printed name and title
